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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF MAINE

UNITED STATES OF AMERICA,                             )
                                                      )
                                                      )
v.                                                    )   Crim. No. 1:19-cr-00007-JAW
                                                      )
                                                      )
DOUGLAS GORDON.                                       )
                                                      )


        JOINT MOTION TO SET MOTIONS DEADLINE FOR TRIAL
        NOW COME the United States of America, by and through Halsey B. Frank, United

States Attorney for the District of Maine, and James M. Moore, Assistant United States Attorney,

as well as the Defendant, Douglas Gordon, by and through his attorney, Stephen C. Smith, Esq.,

and the parties hereby respectfully move for this Honorable Court to enter an order setting a

deadline for the parties to file any motion to suppress or other pretrial motion. The parties make

the following representations:

       Rule 12(c) of the Federal Rules of Criminal Procedure states the “court may, at the

arraignment or as soon thereafter as practicable, set a deadline for the parties to make pretrial

motions.” Fed. R. Crim. P. 12(c). The arraignment of the defendant on the superseding

indictment was on April 29, 2019. The parties in this case have conferred and have agreed to a

proposed deadline for the filing of any motion to suppress or other pretrial motion of July 29,

2019. The parties reserve their rights to file motions in limine or any other motions regarding the

admissibility of evidence after the proposed motion deadline but sufficiently in advance of trial

to permit a response and court consideration of any request to limit, prevent or permit the

admission of certain evidence in the presence of the jury at the October 21, 2019 trial of the case.


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       WHEREFORE, for the reasons set forth above, the United States and the defendant

respectfully request that the court enter an order pursuant to Rule 12(c) of the Federal Rules of

Criminal Procedure setting the deadline for the filing of any pretrial motions for July 29, 2019.

       Dated this 2nd day of May, 2019.

                                              Respectfully submitted,

                                              HALSEY B. FRANK
                                              United States Attorney

                                              BY: /s/ JAMES M. MOORE
                                              JAMES M. MOORE
                                              Assistant U.S. Attorney

                                             BY: /s/ STEPHEN C. SMITH, ESQ.
                                             STEPHEN C. SMITH, ESQ.
                                             Attorney for the Defendant


                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 2, 2019, I filed the Joint Motion to Set Motions Deadline for
Trial with the Clerk of Court using the CM/ECF system which will send notification of such
filing to the following:

                      Stephen C. Smith, Esq., at: ssmith@lipmankatz.com

                                                             Halsey B. Frank
                                                             United States Attorney

                                                             /s/ James M. Moore
                                                             James M. Moore
                                                             Assistant United States Attorney
                                                             United States Attorney’s Office
                                                             202 Harlow Street, Room 111
                                                             Bangor, Maine 04401




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